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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN


 UNITED STATES OF AMERICA,

         Plaintiff,
                                                                     Hon. Jane M. Beckering
 v.
                                                                     Case No. 1:21-cr-00197
 CHRISTINA MARIE ELDER,

         Defendant.
 ________________________________/

                            REPORT AND RECOMMENDATION

        Pursuant to W.D.Mich. LCrR. 11.1, I conducted a plea hearing in the captioned case on

January 10, 2022, after receiving consent of defendant and all counsel in writing and on the record.

At the hearing, defendant Christina Marie Elder entered a plea of guilty to Counts 7 and 12 of the

Indictment in exchange for the undertakings made by the government in the written plea

agreement. In Count 7 of the Indictment, defendant is charged with financial institution fraud in

violation of 18 U.S.C. § 1344(2). In Count 12 of the Indictment, defendant is charged with

aggravated identity theft in violation of 18 U.S.C. § 1028A(a)(1). On the basis of the record made

at the hearing, I find that defendant is fully capable and competent to enter an informed plea; that

the plea is made knowingly and with full understanding of each of the rights waived by defendant;

that it is made voluntarily and free from any force, threats, or promises, apart from the promises

in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to Counts 7 and 12 of the Indictment

be accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,
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acceptance of the plea agreement, and imposition of sentence are specifically reserved for the

district judge.

Dated: January 11, 2022                                    /s/ Sally J. Berens
                                                          SALLY J. BERENS
                                                          U.S. Magistrate Judge


        OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure to file

objections within the specified time waives the right to appeal the District Court’s order. See

Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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